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        EXHIBIT X
     PUBLIC REDACTED
         VERSION
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             INFORMATION SUBJECT TO PROTECTIVE ORDER

                                United States District Court
                               Northern District of California
                                     San Jose Division


APPLE INC., a California corporation,

              Plaintiff,

       vs.                                      Civil Action No. 11-CV-01846-LHK

SAMSUNG ELECTRONICS CO., LTD., a
Korean business entity, SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation, and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

              Defendants.



SAMSUNG ELECTRONICS CO., LTD., a
Korean business entity, SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation, and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

              Counterclaim-Plaintiffs,

       v.

APPLE INC., a California corporation,

              Counterclaim-Defendant.


             REBUTTAL EXPERT REPORT OF TONY GIVARGIS, Ph.D.
                      REGARDING NON-INFRINGEMENT
             OF THE ASSERTED CLAIMS OF U.S. PATENT NO. 7,698,711
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 1   I.       INTRODUCTION

 2           1.       I have been retained as an expert in this case by Plaintiff Apple, Inc. (“Apple”). I

 3   expect to testify at trial regarding the matters set forth in this report, if asked about these matters

 4   by the court or by the parties’ attorneys.

 5           2.       I have been asked to review and comment on the “Expert Report of Woodward

 6   Yang Regarding the Infringement of U.S. Patent Nos. US 7,577,460, US 7,456,893, US

 7   7,698,711 and US 7,079,871,” dated March 22, 2012 (“Yang Report”), in which Dr. Yang asserts

 8   that Apple iPhone 3G, iPhone 3GS, iPhone 4, and iPod Touch 4th generation (“the accused

 9   Apple products”)1 infringe claims 1, 2, 7-10, and 15-18 of US Patent No. 7,698,711 (“the ‘711

10   patent”). I note that at p. 22 of his report, Dr. Yang also lists claim 3 as an asserted claim, but

11   this claim was not asserted in Samsung’s September 7, 2011 Disclosure of Asserted Claims and

12   Infringement Contentions under Patent Local Rules 3-1 and 3-2. Further, Exhibit 3 of Dr.

13   Yang’s report provides no alleged evidence showing infringement of claim 3. It is my

14   understanding that claim 3 is not an asserted claim of the ‘711 patent.

15           3.       I disagree with Dr. Yang’s conclusions regarding Apple’s alleged infringement of

16   the ‘711 patent. Based on my understanding of the accused Apple products and the legal

17   standards set forth below, it is my opinion that the accused Apple products do not infringe claims

18   1, 2, 7-10, or 15-18 of the ‘711 patent. It is my understanding that Samsung bears the burden of

19   identifying evidence supporting infringement, and in my opinion Dr. Yang has failed to do so in

20   his report.

21   II.     QUALIFICATIONS

22           4.       A summary of my qualifications, relevant experience, and compensation in this

23   case is provided in Section II of my Expert Report Regarding Invalidity of the Asserted Claims

24   of U.S. Patent No. 7,698,711 (“Invalidity Report”), and in my curriculum vitae, which is

25   attached as Exhibit 1 to my Invalidity Report, which are hereby incorporated by reference.

26

27   1
      I note that Dr, Yang included the iPhone 4S as an accused infringing product. I understand that the Court denied
     Samsung’s request to add the iPhone 4S to this case. Therefore, I will not address the iPhone 4S in this report.
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 1   III.    MATERIALS CONSIDERED

 2           5.      In Exhibit 1, I list the materials I considered in reaching my opinions described in

 3   this report. In addition, I have spoken with Apple engineer Greg Chapman regarding the

 4   relevant functions and programming in the accused Apple devices, and have reviewed the source

 5   code used to program those functions. I have also reviewed Dr. Yang’s Report including all

 6   appendices, exhibits, or materials cited in this report relating at least to the ‘711 patent.

 7           6.      My opinions in this report also rely on my academic qualifications and experience

 8   in the field of computer science as described in my curriculum vitae.

 9   IV.     UNDERSTANDING OF THE LAW RELATING TO PATENT INFRINGEMENT

10           7.      I am not an attorney. I have been informed about the legal standards for patent

11   infringement by counsel for Apple.

12           8.      I have been informed and understand that an infringement analysis is a two-step

13   process. First, the patent claims are construed by the Court to ascertain their proper scope.

14   Second, the construed claims are compared to the allegedly infringing product or process to

15   determine whether those products or processes fall within the scope of the claims either literally

16   or under the doctrine of equivalents.

17           A.      Literal Infringement And Infringement Under The Doctrine Of Equivalents

18           9.      I have been informed and understand that a patent claim is literally infringed

19   when an accused product includes structures or steps in a process that are identical to each and

20   every element of a patent claim. If, however, the accused product does not have every

21   requirement in the patent claim, then the accused product does not literally infringe that claim. I

22   have been informed and understand that the person asserting patent infringement has the burden

23   of proving literal infringement, and thus the burden of establishing that each and every limitation

24   in the asserted claim is met.

25           10.     I have been informed and understand that if a patent claim uses the term

26   “consisting of,” that patent claim is to be understood as a closed claim. To infringe a closed

27   claim, the accused product must have every requirement in the claim and no other parts or steps.
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 1          11.     I have been informed and understand that a patent claim is infringed under the

 2   doctrine of equivalents when, for any element recited in the claim that is not contained literally

 3   in the accused product or process, there is a corresponding structure or step that is an equivalent

 4   of the structure or step recited in the claim, where the equivalent structure or step is only

 5   “insubstantially” different from the claimed structure or step. If the accused product is missing

 6   an identical or equivalent part or step to even one requirement of the asserted patent claim, the

 7   accused product cannot infringe the claim under the doctrine of equivalents. Thus, in making a

 8   determination under the doctrine of equivalents, one must look at each individual requirement of

 9   the asserted patent claim and decide whether the accused product has either an identical or

10   equivalent part or step to that individual claim requirement.

11          12.     I have been informed and understand that one test to determine whether the

12   difference between a claim element and an accused structure or step is insubstantial is whether

13   the structure or step in the accused product performs substantially the same function, in

14   substantially the same way, to achieve substantially the same result as the claimed structure or

15   step. I have been informed and understand that the person asserting patent infringement has the

16   burden of proving that there is infringement under the doctrine of equivalents. Moreover, I have

17   been informed and understand that a patentee cannot use the doctrine of equivalents to vitiate a

18   claim limitation, by raising an infringement theory that would effectively render the claim

19   limitation meaningless.

20          13.     I have been informed and understand that the doctrine of equivalents may not be

21   used to find infringement if the accused product is the same as what was in the prior art before

22   the application for the patent in suit or what would have been obvious to persons of ordinary skill

23   in the field in light of what was in the prior art. In other words, a patent holder may not obtain,

24   under the doctrine of equivalents, protection that it could not have lawfully obtained from the

25   Patent and Trademark Office.

26          14.     I have been informed and understand that arguments made during the prosecution

27   of a patent can limit the range of equivalents available to a patentee, by preventing recapture of
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 1   subject matter that is effectively surrendered by the inventors during prosecution. I have been

 2   further informed and understand that the presumption of complete surrender of equivalents for a

 3   claim limitation amended for reasons related to patentability may be rebutted by showing the

 4   alleged equivalent would have been unforeseeable at the time the prosecution argument was

 5   made, the rationale underlying the argument bore no more than a tangential relation to the

 6   equivalent at issue, or that there was some other reason suggesting that the patentee could not

 7   reasonably have been expected to have described the alleged equivalent.

 8            B.    Direct Infringement

 9          15.     I have been informed and understand that a patent claim is directly infringed

10   when a person makes, uses, sells, or offers to sell in the United States, or imports into the United

11   States, a product or process that includes each element of the patent claim, either literally or

12   under the doctrine of equivalents.

13          16.     I have been informed and understand that a dependent claim includes all of the

14   requirements of a particular independent claim, plus additional requirements of its own. As a

15   result, if an independent claim is not infringed, any of its dependent claims are not infringed. On

16   the other hand, if an independent claim is infringed, a separate finding must be made as to

17   whether the additional requirements of its dependent claims have also been infringed.

18            C.    Indirect Infringement

19          17.     I have been informed and understand that an accused infringer may be liable for

20   contributing to or inducing the infringement of a patent claim. I have been informed and

21   understand that both contributory infringement and inducement of infringement require proof of

22   direct infringement of a patent claim, and that the person asserting infringement bears the burden

23   of proving direct infringement.

24          18.     I have been informed and understand that contributory infringement occurs when

25   a person provides a material part or a component to another for use in a product, machine, or

26   process that infringes a patent, and that person (1) knew of the patent; (2) sold or provided a

27   component that is a material component of the claimed invention; (3) knew that the
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 1   part/component was especially made for use in a manner that infringes the patent claim; and that

 2   the component (4) does not have a substantial non-infringing use; and (5) is used in a manner

 3   that infringes the patent. I have been informed and understand that the person asserting

 4   contributory infringement has the burden of proving that each of these elements is satisfied.

 5          19.     I have been informed and understand that inducement of patent infringement

 6   occurs when a person (1) has intentionally taken action that actually induced direct infringement

 7   by another; (2) has been aware of the patent; (3) has known that the acts it was causing would be

 8   infringing; and (4) the other person infringed the patent. I have been informed and understand

 9   that the person asserting inducement of infringement has the burden of proving that each of these

10   elements is satisfied.

11          20.     I have been informed and understand that if the accused infringer did not know of

12   the existence of the patent or that the acts it was inducing were infringing, it cannot be liable for

13   inducement unless it actually believed that it was highly probable its actions would encourage

14   infringement of a patent and it took intentional acts to avoid learning the truth. It is not enough

15   that the accused infringer was merely indifferent to the possibility that it might encourage

16   infringement of a patent. Nor is it enough that the accused infringer took a risk that was

17   substantial and unjustified.

18          21.     I have been informed and understand that if the alleged infringer was aware of the

19   patent, but believed that the acts it encouraged did not infringe that patent, or that the patent was

20   invalid, the alleged infringer cannot be liable for inducement.

21

22   V.     LEVEL OF ORDINARY SKILL IN THE ART

23          22.     In the Markman Order dated April 4, 2012, the Court has adopted Samsung’s

24   proposed definition of a person of ordinary skill in the art as follows: “a Bachelor’s Degree in

25   computer science/engineering and several years of experience in multi-tasking systems and

26   computer programming, or a Master’s Degree with less relevant experience, or a person with

27   equivalent industry experience.” Using this definition of the person of ordinary skill in the art
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 1   does not change my prior opinion in my report on invalidity of the ‘711 patent. My opinions in

 2   this report are consistent with this definition.

 3   VI.      SUMMARY OF THE ‘711 PATENT

 4            23.      I have provided a summary of the ‘711 patent in Section VII of my Invalidity

 5   Report, which is incorporated here by reference.2

 6   VII.     BACKGROUND TECHNOLOGY

 7            24.      I provided a description of the background technology in Section VI of my

 8   Invalidity Report, incorporated here by reference.

 9   VIII. THE ACCUSED APPLE PRODUCTS
10            25. It is my understanding that Samsung accuses Apple’s iPhone 4, iPhone 3GS, iPhone
11   3G, and iPod Touch (4th generation) products (collectively, “the accused Apple products”) of
     infringing claims 1-3, 7-10 and 15-18 of the ‘711 patent.
12
              A.       iPhone 4
13
              26.      The iPhone 4 is a fourth generation mobile smart-phone designed and sold by
14
     Apple Inc. that combines iPod music features with a mobile cell phone. The iPhone 4 also
15   contains both a front and rear-facing digital camera, GPS, WiFi and GSM/GPRS/EDGE/CDMA
16   connectivity, a 3.5 inch touch sensitive display, and internal 8, 16, or 32 GB flash storage. The
17   iPhone 4 runs Apple’s iOS operating system on an ARM CPU (with an Apple A4 GPU) with

18   512 MB of DRAM. In addition to typical productivity application included with the device, the
     iPhone 4 supports App Store, iTunes Store, iBooks Store, and MobileMe Internet services.
19
              B.       iPhone 3G
20
              1.       The iPhone 3G is a second generation mobile smart-phone designed and sold by
21   Apple Inc. combining iPod music play function with phone and other features. The iPhone 3G
22   contains a 2 MP digital camera, GPS, WiFi and GSM/EDGE connectivity, a 3.5 inch touch
23   sensitive display, and internal 8 or 16 GB flash storage. The iPhone 3G runs Apple’s iOS

24   operating system on an ARM-based CPU with 128 MB of DRAM. In addition to typical
     productivity application included with the device, the iPhone 3G supports App Store, iTunes
25
     Store, iBook Store, and MobileMe Internet services.
26
     2
       Although I incorporate specific sections of my Invalidity Report by reference in this report, it is my intention to
27   incorporate my Invalidity Report by reference in its entirety. I do not mean to limit such incorporation to instances
     where it is specifically mentioned.
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 1            C.       iPhone 3GS
 2            27.      The iPhone 3GS is a third generation mobile smart-phone designed and sold by

 3   Apple Inc. which combines the music player functionality of the iPod device with a cell phone.
     The iPhone 3GS also contains a 3 MP digital camera,GPS, WiFi and GSM/GPRS/EDGE
 4
     connectivity, a 3.5 inch touch sensitive display, and internal 8, 16, or 32 GB flash storage. The
 5
     iPhone 3GS runs Apple’s iOS operating system on an ARM-based CPU with 256 MB of DRAM.
 6   In addition to typical productivity application included with the device, the iPhone 3G supports
 7   App Store, iTunes Store, iBooks Store, and MobileMe Internet services.
 8            D.       iPod Touch (4th generation)

 9            28.      The iPod Touch is a portable music/media player and personal digital assistant
     designed and sold by Apple Inc. The 4th generation iPod Touch offers WiFi and USB
10
     connectivity, a front-facing camera for FaceTime and a display similar to the iPhone 4. The iPod
11
     Touch 4th generation runs Apples iOS operating system on an ARM-based CPU with 256 MB of
12
     DRAM. In addition to typical productivity application included with the device, the iPod Touch
13   4th generation supports App Store, iTunes Store, iBooks Store, and MobileMe Internet services.
14
     IX.      ANALYSIS AND OPINIONS CONCERNING NON-INFRINGEMENT OF THE
15            ‘711 PATENT
16            29.      In his report dated March 22, 2012, Dr. Yang asserts that the accused Apple
17   products infringe claims 1, 2, 7-10, and 15-18 of the ‘711 patent.3 It is my opinion that none of
18   these claims is infringed by the accused Apple products.
              30.      Claims 1, 2, 7, and 8 of the ‘711 patent are method claims requiring a user to
19
     perform steps using a device. Apple does not perform these steps, and Dr. Yang does not
20
     suggest that Apple does. The remaining asserted claims, claims 9, 10, and 15-18, recite an
21
     apparatus, but also require the user to perform steps that the apparatus itself will not perform
22   independently, such as “selecting and playing a music file in the pocket-sized mobile
23   communication device in the MP3 mode” as required in claims 9, 17, and dependent claims 10,
24   15, 16, and 18, which depend on those two independent claims. Again Apple does not perform

25   these steps.
     3
26     As previously stated, I note that at p. 22 of his report, Dr. Yang also lists claim 3 as an asserted claim, but this
     claim was not asserted in Samsung’s September 7, 2011 Disclosure of Asserted Claims and Infringement
     Contentions under Patent Local Rules 3-1 and 3-2. Further, Exhibit 3 of Dr. Yang’s report provides no alleged
27   evidence showing infringement of claim 3. It is my understanding that claim 3 is not an asserted claim of the ‘711
     patent.
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 1           31.     As described above, it is my understanding of the law relating to infringement
 2   that, when the accused infringer does not directly perform the alleged infringing activity, indirect

 3   infringement can still be shown, including under an “inducement” theory. However, I
     understand that proving inducement of infringement requires both (1) proof of direct
 4
     infringement (e.g., that a user carries out all of the claimed actions), and (2) evidence that Apple
 5
     has actively “induced” or encouraged users to perform these steps and infringe these claims. In
 6   his report, Dr. Yang has not provided any allegation of, much less any evidence of, indirect
 7   infringement of the ‘711 patent, including inducement. In my opinion Dr. Yang has failed to
 8   establish infringement by Apple for this reason alone. I further reserve the right to supplement

 9   my response if Dr. Yang or Samsung attempts to set forth any evidence of indirect infringement
     of the ‘711 patent at a later date.
10
             32.     In Dr. Yang’s report on infringement, he frequently cites to Bates numbers for
11
     documents or source code files as supporting his opinion that the accused products infringe the
12
     ‘711 claims, but does so without any explanation for why the specific documents or files are
13   supportive.
14

15

16

17

18
                                                                                              None of
19   the cited documents make any reference to “applet” and it is not clear, in the absence of any
20   explanation by Dr. Yang, why they are relevant to the above analysis. I understand that
21   Samsung must carry the burden of identifying evidence supporting infringement. Dr. Yang’s

22   report does not meet this burden for any of the accused claims.

23           A.      The Accused Apple Products Do Not Perform a Method Comprising
                     “Generating a Music Background Play Object, Wherein the Music
24
                     Background Play Object Includes an Application Module Including at Least
25                   One Applet”

26                   1.      Literal Infringement

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 1            33.      Dr. Yang fails to identify the “object” alleged to meet the “music background play
 2   object” limitation of the asserted claims, choosing instead to simply state that “[i]n Step 1, the

 3   initiation of playing of background music requires the creation of some scheduled task to be
     performed in a multi-tasking environment such that the task involves the use of an application
 4
     module and applet.” Yang report at ¶ 79.
 5
              34.      Exhibit 3 of the Yang report, purportedly showing infringement by the accused
 6   products, does not identify an object in the accused devices nor does it state what Dr. Yang’s
 7   understanding of “music background play object” is. The entire analysis of element [a] of Claim
 8   1 as provided in Exhibit 3A-1 is:

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13
              Exhibit 3A-1 chart at element 1[a].
14

15            35.      The conclusory analysis above states the accused devices generate a MBPO
     without ever describing what the MBPO is or where it is located. Exhibit 6 does not describe the
16
     generation of a music background play object. No cites to the code are provided in support of
17
     this conclusion. Exhibit 3A-2 of Dr. Yang’s report purportedly shows claim 1 element [b]
18
     (“providing an interface for music play by the music background play object”) as met by the
19   home page display itself.4 Dr. Yang’s corresponding description in Exhibit 3A-1 simply states
20   that “[t]he ‘711 Accused Devices have an interface, such as a touchscreen interface, and home
21   button which allow the user to interface with the MBPO,” which is supposedly launched when

22   the Music application icon is selected on the device home screen.

23   4
       I note that Dr. Yang is inconsistent in his characterization of the Apple home screen in the accused devices. For
     the purposes of his ‘711 patent analysis, Dr. Yang refers to the home screen as a “standby mode.” See, e.g, Yang
24   report at Exhibit 3, claim 1, element [e] [“While in the standby mode (i.e. Apple Home screen) the ‘711 Accused
     Devices display an icon as an indication that the music file continues to be played.”] Yet in his analysis of the ‘460
25   patent, he refers to the Apple home screen as a “portable phone mode.” Id. at Exhibit 1A-1, claim 1 [“Each accused
     device awaits an incoming phone call in the portable phone mode (i.e., home active screen).”] Dr. Yang’s opinion
26   requires the person of ordinary skill in the art to equate the Apple home screen with a “portable phone mode” when
     it suits his infringement opinion on one patent and a “standby mode” when it conveniently suits his opinion on a
     different patent. The person of ordinary skill in the art would not have understood the meanings of the different
27   terms to cover the identical screen on the accused devices.

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 6            37.      For the above reasons, in my opinion Dr. Yang has failed to establish
 7   infringement by Apple at least because he does not clearly explain how Apple’s devices
 8   allegedly provide the claimed music background play object including an application module or

 9   identify these elements in the accused devices. Indeed, in my opinion Dr. Yang cannot do so
     because the iOS devices do not have a notion of “music background play object.” Instead, as I
10
     discuss in more detail below, the mediaserverd is responsible for audio playback.
11
              38.      Dr. Yang also fails to clearly identify what he believes constitutes the “applet”
12
     required by all asserted claims. The claims require that the “music background play object
13   includes an application module including at least one applet.” In my opinion, the accused
14   devices do not contain the claimed applet. The term “applet” has been construed by the Court to

15   mean “an application designed to run within an application module.” Markman Order of April 4,
     2012 at p. 11. In the analysis herein regarding “applet,” I apply the Court’s construction.5
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      I provided my previous report on the invalidity of the ‘711 patent prior to the issuance of the Markman order, but
     my positions in that report are unchanged and apply equally in view of the Court’s construction of “applet.”
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13          42.    These three processes execute concurrently, communicate, and interact to provide
14   the user a convenient and consistent functionality. However, none of the three “includes” or

15   “runs within” any of the others, even if these concepts are taken very broadly to include one
     application interpreting the instructions of another or providing a context for execution of the
16
     other. It should be noted that any multitasking computing system will include a set of interacting
17
     processes. Interaction (i.e., communications between different processes) cannot and would not
18
     be understood by a person of skill in the art as meaning one application is “designed to run
19   within an application module.” If that were the case, essentially all computer applications would
20   be applets.
21

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23

24                          a.     mediaserverd

25
            44.     The media server daemon (“mediaserverd”) is an independent process that starts
26   execution when the device is powered-up. This server is one of many processes that are loaded
27   into memory during the boot process and scheduled to execute by the operating system for as
28
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 1   long as the device remains “on”. The mediaserverd process is responsible for playing audio and
 2   video media, including MP3 files. Dr. Yang ignores the fact that there is no “background music”

 3   function or application in the accused devices, only music applications that communicate with
     the media server daemon. The report fails to appreciate that the mediaserverd process is
 4
     responsible for background audio playback and does not even attempt to label it an applet or
 5
     identify an applet “running within” this process.
 6
            45.     All user-level applications that play audio files are required to do so through the
 7
     mediaserverd process. At all times, the mediaserverd is responsible for audio playback through
 8   the speaker. The audio content may originate from any number of processes running within the
 9   iOS. The mediaserverd process enforces priorities (e.g., giving precedence to a received call
10   ringer over an MP3 song) and manages user preferences (e.g., adjusting playback volume

11   according to user volume setting). An application sends a “message” to the mediaserverd
     requesting audio playback. In turn, the mediaserverd sends messages to the applications when
12
     the status of playback changes (e.g., the MP3 file playback ends).
13
            46.     The mediaserverd is a single application that is loaded and scheduled for
14
     execution by the operating system. My careful examination of the mediaserverd source code
15
     reveals that the mediaserverd is not an applet and does not run within an application module.6
16   Likewise, my examination of the source code of the mediaserverd reveals that it does not behave
17   as an application module hosting another application. Hence, the term “applet,” as construed by
18   the Court to mean “an application designed to run within an application module” does not apply

19   to the mediaserverd.

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16                          e.     Source Code Files Cited by Dr. Yang
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            53.     I have reviewed each source code file Dr. Yang cites in stating that “the Music
18
     App contains an application module and including an applet.” See, e.g., Exhibit 3 at footnotes 6,
19
     22, and 37. Dr. Yang cited to these files, each including hundreds of lines of code, without
20   providing any detail on how each file supports his opinion. Below, I provide a table describing
21   each of these files, and why none of these could be considered an “applet” as understood to mean

22   “an application designed to run within an application module.” As a preliminary matter, none of
     these files are applications by themselves.
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            54.     In support of his infringement contention for element [a] in claim 1 and the same
25
     “generating a music background play object … include[ing] an application module including at
26   least one applet” limitation in claims 9 and 17, Dr. Yang further cites, in their entirety, three
27   documents produced by Apple: the AV Foundation Programming Guide, the Audio Session
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 1   Programming Guide, and the iPhone Application Programming Guide. Dr. Yang does not point
 2   to any particular part of these documents, which range from 56 to 92 pages in length, or provide

 3   any explanation for how these documents support his opinion. In my opinion, there is nothing in
     these documents that establish that the accused devices meet the claim limitation “generating a
 4
     music background play object … includ[ing] an application module including at least one
 5
     applet.”
 6          55.     For all of the above reasons, it is my opinion that the accused devices do not meet
 7   the “generating a music background play object … includ[ing] an application module including
 8   at least one applet” limitation required by all of the asserted claims of the ‘711 patent, and for at

 9   least this reason Apple does not infringe.

10
                    2.      Doctrine of Equivalents
11
            56.     Dr. Yang states that the Apple accused products “include or practice each and
12
     every element recited in [the asserted claims], either literally or equivalently.” Yang report at
13   ¶85. However, no further opinion regarding the doctrine of equivalents is provided. The
14   accused Apple products do not literally meet the claim elements as described above, nor do they

15   perform an “equivalent” as I understand the Doctrine of Equivalents requires.
            57.     Samsung is also not entitled to the Doctrine of Equivalents due to “Prosecution
16
     History Estoppel” for the claim limitation “wherein the music background play object includes
17
     an application module including at least one applet” as required by all asserted claims. As
18
     described in my report on invalidity, this limitation was added to distinguish the claims from the
19   prior art during prosecution of the ‘711 patent. It is my understanding, based on the legal
20   standard provided to me by Apple counsel as described above, that Samsung is therefore not
21   entitled to recapture equivalents to this limitation because they are presumed to have surrendered

22   these equivalents.
            58.     It is my opinion that even if the Doctrine of Equivalents were to apply in this
23
     case, the Apple products do not have anything equivalent to “generating a music background
24
     play object, wherein the music background play object includes an application module including
25   at least one applet” where an “applet” is understood to mean “an application designed to run
26   within an application module.” The Apple iOS code, as based on UNIX, is not designed for
27   applications to run “within” application modules as the ‘711 patent describes and claims.

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 1   Finding infringement under the Doctrine of Equivalents under these circumstances would vitiate
 2   this claim limitation by interpreting “wherein the music background play object includes an

 3   application module including at least one applet” so broadly that it would cover essentially any
     conceivable application. It is my understanding that the patent law, as set forth in the legal
 4
     standard section of this report, does not permit an interpretation to be so broad that the limitation
 5
     becomes meaningless.
 6          59.     As I described above and set forth in the chart, I have looked at all of the
 7   documents and source code files cited by Dr. Yang as evidence that the accused Apple products
 8   allegedly practice the “generating a music background play object, wherein the music

 9   background play object includes an application module including at least one applet” limitation.
     No documents or code cited by Dr. Yang satisfy the “insubstantial differences” standard set forth
10
     above, which I have analyzed using the “function-way-result” test.
11
            60.     My analysis of the Apple source code shows that the Apple products do not
12
     perform the same function because they do not “generat[e] a music background play object,
13   wherein the music background play object includes an application module including at least one
14   applet.” The Apple products are able to play music files while multitasking in an entirely

15   different way than the ‘711 patent describes or claims, using the applications described above.
     The software architecture of the Apple devices represents an entirely different approach to
16
     software engineering than the use of “application modules including at least one applet” or any
17
     application designed to run within an application module. For at least these reasons, the
18
     differences between Apple’s source code and the required programming of the asserted claims
19   are substantial and not “equivalents” of a “music background play object” that “includes an
20   application module including at least one applet.”
21                  3.      Conclusion
22          61.     Based on the above analysis, it is my opinion that Dr. Yang incorrectly concludes
23   that the accused Apple products satisfy the limitation “generating a music background play
24   object” that “includes an application module including at least one applet” as required by all

25   asserted claims. For at least this reason, Apple’s accused devices do not infringe any of the
     asserted claims literally or under the doctrine of equivalents.
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 1          B.      The Accused Devices Do Not Have the Claimed “MP3 Mode”
 2                  1.      Literal Infringement
 3          62.     Elements [c], [d], and [e] of claim 1 and element [a] of both claims 9 and 17
 4   requires the multitasking device to have an “MP3 mode” (e.g., “for selecting an MP3 mode” as

 5   recited in each of claims 1, 9, and 17). Dr. Yang asserts that selecting the Music App from the
     accused device home screen puts the ‘711 accused devices in an MP3 mode. See, e.g., Exhibit 3
 6
     at claims 1[c], [d], or [e] or claims 9 or 17 element [a]. The accused devices do not have an
 7
     “MP3 mode” but rather launch an application that can play MP3 files. Dr. Yang evidently
 8   assumes that the person of ordinary skill would have interpreted the launching of an application
 9   to be equivalent to a “mode.” I disagree.
10          63.     The accused Apple products do not operate on the basis of switching back and

11   forth between “modes.” The iPhone, for example, performs a wide variety of different functions
     by launching standalone application programs, which operate when selected. The phone itself
12
     does not switch into a “mode” as a person of ordinary skill in 2005 would have understood that
13
     term. A mode would be understood to mean a distinct state of operation or setting of a device or
14
     of an application. In the Apple devices, there is no notion of using “modes” for any function
15   related to music playback. As I described above, music playback is handled only through
16   applications, which are distinct pieces of software performing specific functions and can be

17   added by a user.
     Therefore, it is my opinion that the accused products do not infringe any asserted claims of the
18
     ‘711 patent for the additional reason that they do not provide the claimed “MP3 mode.”
19

20                  2.      Doctrine of Equivalents
            64.     The accused Apple products do not infringe the limitations “MP3 mode” under
21
     the “insubstantial differences” standard described above. The Apple products do not perform the
22
     same function as the claimed limitation because they never enter an “MP3 mode” as that term
23   would be understood to the ordinary person in the art. The Apple products, instead of switching
24   to a different mode, simply launch an application that is used to play music files. Under the legal
25   standard for substantial difference, this means the way in which the function is carried out is

26   distinct from the claim element. Finally, the result is different: the ‘711 claims result in
     “switching the MP3 mode to a standby mode” in claim 1 and “switching from the MP3 mode to
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 1   a standby mode” in claims 9 and 17, whereas the Apple products do not switch modes, they run
 2   applications. When multitasking is necessary, the Apple products simply launch the additional

 3   application to perform a different function without ever switching modes. Therefore, the
     differences between the claim limitations requiring an “MP3 mode” and the Apple products are
 4
     substantial.
 5
                    3.      Conclusion
 6
            65.     In view of the analysis above, it is my conclusion that the Apple devices do not
 7
     infringe any asserted claim of the ‘711 patent, whether literally or under the doctrine of
 8
     equivalents, because none of the accused devices has an “MP3 mode” which can be selected or
 9   switched to a standby mode.
10          C.      Dr. Yang’s Responses to Apple’s Non-Infringement Interrogatory Positions
11
            66.      Paragraphs 88-91 of Dr. Yang’s report addresses certain non-infringement
12   positions described in Apple’s Supplemental Objections and Responses to Samsung’s First Set of
13   Interrogatories (No. 12) as served on March 8, 2012.
14          67.     In paragraph 89 of Dr. Yang’s report, he states: “Apple alleges its products do not

15   infringe because ‘background processes’ it has identified run in ‘its own context, directly on the
     processor (scheduled individually by the Operating System process scheduler), and each can run
16
     without the presence of the other.’”
17
            68.     Dr. Yang continues in paragraph 90:
18          This non-infringement position is wholly dependent on Apple’s own
19          construction of ‘applet,’ one for which Apple has provided no support.
            Furthermore, Apple has provided no basis for choosing these ‘background
20          processes.’ Apple appears to have picked these for the sole purpose of
            manufacturing a non-infringement position.
21

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24          69. The comments above suggest that Dr. Yang either did not make more than a

25   superficial inspection of the available source code or did not understand that code. The term
     “manages” is reasonably understood as any function associated with creating, updating, or
26
     rendering on the display one of the listed features in response to user input. For example,
27
     managing of a playlist involves adding songs to a list, removing songs from a list, playing songs
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 1   within the list in some order (e.g., random or sequential) and so on.
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 6           70.    Dr. Yang goes on to state in paragraph 91:
 7           Finally, Apple makes a straw man argument by stating that the
             “mediaserverd” background process “manages” the user experience. As
 8           an initial matter, Apple has not produced any source code to support its
 9           claim regarding “mediaserverd”. Furthermore, even if “mediaserverd”
             background processes ran directly on the processor, as Apple alleges,
10           other iPhone features utilize “mediaserverd”. Under Apple’s own
             definition, these other features would be “applets” within the ‘711 patent
11           because they do not “run in their own context.”
12
             71.     As a preliminary matter,
13                                                                                          file, was
14   available for inspection as of September 20, 2011, October 26, 2011, and February 16, 2012.

15   Furthermore, Dr. Yang’s statement that because “other iPhone features utilize mediaserverd” it
     must mean these other features are “applets” is completely without merit. Dr. Yang is
16
     incorrectly and overbroadly interpreting an “applet” to encompass any interaction between two
17
     processes or code segments. The Court’s construction of applet as “an application designed to
18
     run within an application module” cannot be reconciled with Dr. Yang’s stated opinion or with
19   the understanding of one of ordinary skill in the art. As I discussed above, when one application
20   is “running within” an application module, one would expect, for example, to see the application
21   module interpreting the instruction of the application within it, or in some way providing context

22   for the application’s execution. That is not the case with any of the applications identified by Dr.
     Yang.
23

24
     X.      DESIGN ALTERNATIVES
25
             72.    The report above details why it is my opinion that the accused Apple products do
26
     not infringe any asserted claim of the ‘711 patent, whether literally or under the doctrine of
27   equivalents, and I have previously offered my opinion why I believe the ‘711 patent is invalid.
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 1          73.     In the event that the ‘711 patent is found to be both valid and infringed, I note that
 2   a non-infringing alternative could be engineered very simply and without a loss of functionality

 3   in the accused devices.
            74.     Each claim of the ‘711 patent requires “displaying an indication that the music
 4
     file is being played in the standby mode.”
 5
            75.     The small “►” icon on the home page status bar of the accused devices is alleged
 6   to meet this limitation. See Yang Report at Exhibit 3A-2, step 5. The figure from that exhibit
 7   showing the allegedly infringing ► icon on the iPhone home screen is reproduced below:
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15          76.     This small icon could simply be removed while all music player multitasking
16   functionality is kept the same. The playing of the music file itself indicates to the user that the
17   music is playing without additionally requiring a visual symbol on the home screen.

18          77.     This alternative could be implemented solely with a simple modification to the
     source code without requiring any hardware changes and could likely be completed within hours.
19
     No additional costs would be associated with this simple modification.
20
            78.     Removing the play icon could easily have been done at the time the Apple
21
     products allegedly first infringed the ‘711 patent, because it would have required nothing more
22   than leaving out a barely-noticeable graphic feature.
23          79.     I also note that in the expert report of Dr. R. Sukumar dated March 22, 2012, Dr.
24   Sukumar evidently suggests that a phone with “the ability to listen to music in the background,
     the phone indicating that music is playing” but that is “slightly larger or thicker or consumes
25
     battery power faster” is a non-infringing alternative to the ‘711 claimed invention. There is no
26
     claim element that relates to consumption of battery power, and the only size limitation is that
27
     the devices must be “pocket-sized.” Hence it is entirely unclear why Dr. Sukumar would
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